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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


K&K POULTRY LLC, a Nebraska
Limited liability company;

                                                             4:24CV3056
                     Plaintiff,


      vs.
                                                               ORDER

EVERETT CASH MUTUAL
INSURANCE CO.,


                     Defendant.




      The court has been advised that the parties in the above-captioned matter
have settled their claims.

      Accordingly,
      IT IS ORDERED:
      1) On or before April 21, 2025, the parties shall electronically file a joint
        stipulation for dismissal (or other dispositive stipulation) that will fully
        dispose of the case;

      2) Absent compliance with this order, this case (including all counterclaims
        and the like) may be dismissed without further notice; and

      3) The Clerk of Court shall terminate the pretrial and trial settings, and any
        hearings set for this case.

      4) Defendant’s motion to bifurcate and stay, Filing No. 17, is denied as moot.
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     Dated this 21st day of February, 2025.


                                          BY THE COURT:


                                          s/ Jacqueline M. DeLuca
                                          United States Magistrate Judge
